Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 1of 8

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

Toy rAd nes UPS RASS R tomobile Association

JS 44 (Rev. 06/17)

 

County of Residence of First Listed Defendant _ Bexar County, TX
(IN US. PLAINTIFF CASES ONLY}

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff Bucks County, PA
(EXCEPT IN U.S. PLAINTIFF CASES)
. NOTE:

(c) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (if Known)
Simon & Simon PC
1818 Market Street, Suite 2000

Philadelphia, PA 19103

 

 

 

 

 

   
 

    

    
 

   

Il. BASIS OF JURISDICTION (Place an “Xx” in One Box Only) IH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
Oi U.S. Government O 3 Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (1  G 1 _ Incorporated or Principal Place o4 o4
. of Business In This State
O 2 US. Government M4 Diversity Citizen of Another State 1 2 © 2 _ Incorporated and Principal Place os m5
Defendant (Indicate Citizenship of Parties in Item Iff) of Business In Another State
Citizen or Subject of a O 3  O 3 Foreign Nation o6 06
Foreign Country
V. NATURE OF SUIT (Ptace an “Xx” in One Box Only) Click here for: Nature of Suit
ONTERA FORPFELTDRE/PENALT CRE

 

OF 375 False Claims Act

( 422 Appeal 28 USC 158

©) 625 Drug Related Seizure

 
 

  
  

  
   
  

CG 110 Insurance PERSONAL INJURY PERSONAL INJURY
G 120 Manne D310 Airplane C1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
© 130 Miller Act 0 315 Airplane Product Product Liability G 690 Other 28 USC 157 372%a))
0 140 Negotiable Instrument Liability 0 367 Health Care/ 1 400 State Reapportionment
( 150 Recovery of Overpayment | [3 320 Assault, Libel & Pharmaceutical {0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OD 820 Copyrights ( 430 Banks and Banking
© 151 Medicare Act (0 330 Federal Employers’ Product Liability O 830 Patent © 450 Commerce
O 152 Recovery of Defaulted Liability CO) 368 Asbestos Personal CF 835 Patent - Abbreviated OF 460 Deportation
Student Loans CO 340 Marine Injury Product New Drug Application 4) 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY i SIAL SECUREE O 480 Consumer Credit
of Veteran’s Benefits & 350 Motor Vehicle C} 370 Other Fraud O 710 Fair Labor Standards CO 86! HIA (1395ff 1 490 Cable/Sat TV
0 160 Stockholders’ Suits O 355 Motor Vehicle OG 371 Truth in Lending Act OG 862 Black Lung (923) © 850 Securities/Commodities/
G 190 Other Contract Product Liability G 380 Other Personal © 720 Labor/Management 6 863 DIWC/DIWW (405(g)) Exchange
CJ 195 Contract Product Liability | C 360 Other Personal Property Damage Relations O 864 SSID Title XVI © 890 Other Statutory Actions
O 196 Franchise Injury CF 385 Property Damage © 740 Railway Labor Act O 865 RSI (405(g)) O 891 Agricultural Acts
( 362 Personal Injury - Product Liability G 751 Family and Medical O 893 Environmental Matters
i i Leave Act 0 895 Freedom of infonnation

 
     
   
  
  

Medical Mal:

  

   

Act

  

PROPERTY, PRISONER PELULIONS | 790 Other Labor Litigation DERA) BL
G 870 Taxes (U.S. Plaintiff

   

© 210 Land Condemnation Habeas Corpus: O 791 Employee Retirement 0 896 Arbitration
220 Foreclosure C 441 Voting ( 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
CF 230 Rent Lease & Ejectment 0 442 Employment CJ} 510 Motions to Vacate G@ 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
CF 245 Tort Product Liability Accommodations OF 530 General OF 950 Constitutionality of
0 290 All Other Real Property CF 445 Amer. w/Disabilities -] 0 535 Death Penalty IVIGRATH State Statutes
Employment Other: ( 462 Naturalization Application
C 446 Amer. w/Disabilities -[ 0) 540 Mandamus & Other | ( 465 Other Immigration
Other G 550 Civil Rights Actions
01 448 Education ( 555 Prison Condition
OF 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

PK 1 Original 0 2 Removed from
Proceeding State Court

1 6 Multidistrict
Litigation -
Transfer

O 8 Multidistrict
Litigation -
Direct File

& 5 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. section 1391(e)(1)

Brief description of cause:

Underinsured Motor Vehicle Accident

Reinstated or
Reopened

O 3 Remanded from a4

Appellate Court

VI. CAUSE OF ACTION

 

 

 

 

 

 

 

VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: i Yes  (CINo
VUE RELATED CASE(S) a
IF ANY (See instructions): JUDGE KETNUMBER
DATE NATURE OF ATTORNEY OF RECORD
/-22-2014 ecw Cypepa
FOR OFFICE USE ONLY = 7
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 2 of 8

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff Jeffrey M. Johnson - 28 Teaberry Lane, Levittown, PA 19054

 

Address of Defendant: United Services Automobile Association - 9800 Fredericksburg Road, San Antonio, TX 78288

 

Falls Township, Pennsylvania

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. _ Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No| /]
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | “No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No
case filed by the same individual?

I certify that, to my knowledge, the within case [7] is / [2] is not related to any case now al or within one year previously terminated action in
this court except as noted above.

DATE: I-Z22- 2019 Lionas We ve 2 82230

Attorney-at-Law ¥Pro gf P Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a V in one category only)

 

 

 

 

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
{1 1. Indemnity Contract, Marine Contract, and All Other Contracts [.] 1. Insurance Contract and Other Contracts
LI 2. FELA {1 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury (C1 3. Assault, Defamation
LJ 4. Antitrust [] 4 Marine Personal Injury
H 5. Patent 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [.] 6. Other Personal Injury (Please specify):
C1 7. Civil Rights [] 7. Products Liability
[1 8. Habeas Corpus (1 8. Products Liability - Asbestos
H 9. Securities Act(s) Cases [E] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
EL] 11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Thomas H. Lipscomb , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.
(I~ I~

Attorney-at-Law / P 6 Se Plaintiff

  

32230

Attorney LD. # (if applicable)

DATE: [-~ 22-2014

    

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5.2018)

 
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 3 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Jeffrey M. Johnson : CIVIL ACTION

United Services Automobile Association - NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ()

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ()
(f) Standard Management — Cases that do not fall into any one of the other tracks. (*)
1-22-2014 Lo Jeffrey M. Johnson
Date _. Attorney-at-law” Attorney for
(215)467-4666 (267)639-9006 thomaslipscomb@gosimon.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 4 of 8

UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

Jeffrey M. Johnson
28 Teaberry Lane :
Levittown, PA 19054, : #

Plaintiff,
Vv.
United Services Automobile Association

9800 Fredericksburg Road
San Antonio, TX 78288,

 

Defendant.
COMPLAINT
PARTIES
1. Plaintiff, Jeffrey M. Johnson, is a resident of the Commonwealth of

Pennsylvania, residing at the address listed in the caption of this Complaint.

2. Defendant, United Services Automobile Association, was at all times material
hereto, an insurance company duly authorized and licensed to practice its profession by the
State of Texas. Defendant was engaged in the practice of providing automobile insurance
policies, including, but not limited to, motor vehicle liability policies. These policies would also
occasionally provide underinsured and uninsured motorist coverage.

JURISDICTION AND VENUE

3. This Court has jurisdiction over the parties and subject matter in this civil action.
Plaintiff is a citizen of Pennsylvania, and Defendant, upon information and belief, is a corporate
entity with its principal place of business in Texas. The amount in controversy in this case,

exclusive of interest and costs, exceeds the sum of $75,000.
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 5of 8

4, Venue is proper in the United States District Court for the Eastern District of
Pennsylvania pursuant to 28 U.S.C. § 1391(b) (1) and (2), in that this is a judicial district in
which a substantial part of the events or omissions giving rise to the claims asserted in this
Complaint occurred.

FACTS

5. On or about December 28, 2016, at approximately 3:00 p.m., Plaintiff was the
owner and operator of a motor vehicle that was traveling southbound on Tyburn Road
approaching the intersection with Trenton Road in Falls Township, Pennsylvania.

6. At the same date and time, Troy Foley (hereinafter, “the tortfeasor’’), was the
owner and operator of a motor vehicle that was traveling northbound on Tyburn Road

approaching the intersection with Trenton Road.

7. At or about the same date and time, the tortfeasor’s vehicle collided with
Plaintiff's vehicle.
8. This collision was the direct result of the tortfeasor negligently or carelessly

operating his vehicle, and not as the result of any action or failure to act by Plaintiff.

9. As a result of the collision, Plaintiff suffered serious and permanent bodily injury
as set forth more fully below.

10. The negligence or carelessness of the tortfeasor, which was the direct and sole
cause of the motor vehicle collision and of the injuries and damages sustained by Plaintiff,
consisted of, but was not limited to, the following:

a.. Operating his vehicle into Plaintiff's lane of travel;

b. Failing to maintain proper distance between vehicles;
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 6 of 8

c. Operating said vehicle in a negligent or careless manner without regard
for the rights or safety of Plaintiff or others;

d. Failing to have said vehicle under proper and adequate control;

e. Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances;

f. Violation of the “assured clear distance ahead” rule;

g. Failure to keep a proper lookout;

h. Failure to apply brakes earlier to stop the vehicle without causing a
motor vehicle collision;

i. Being inattentive to his duties as an operator of a motor vehicle;

j. Disregarding traffic lanes, patterns, and other devices;

k. Driving at a high rate of speed that was dangerous for the conditions;

1. Failing to remain continually alert while operating said vehicle;

m. Failing to perceive the highly apparent danger to others that his actions
or inaction posed;

n. Failing to give Plaintiff meaningful warning signs concerning the
impending collision;

o. Failing to exercise ordinary care to avoid a collision;

p. Failing to be highly vigilant and maintain sufficient control of his vehicle
and to bring it to a stop on the shortest possible notice;

q. Operating his vehicle with disregard for the rights of Plaintiff, even
though the tortfeasor was aware of or should have been aware of the

presence of Plaintiff and the threat of harm posed to him;
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 7 of 8

r. Continuing to operate his vehicle in a direction towards Plaintiff's vehicle
when he saw, or in the exercise of reasonable diligence, should have seen,
that further operation in that direction would result in a collision; and

s. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth of Pennsylvania pertaining to the
operation and control of motor vehicles.

11. Asa direct result of the negligent or careless conduct of the tortfeasor, Plaintiff
suffered various serious and permanent personal injuries, serious impairment of bodily function
and/or permanent serious disfigurement and/or aggravation of pre-existing conditions. These
injuries include, but are not limited to, multilevel disk protrusions and/or herniations at the C5-6
and C6-7 levels of the cervical spine, multilevel intraforaminal disk protrusions/herniations at
the left L4-5 and L5-S1 levels of the lumbar spine, and lumbar radiculopathy.

12. These injuries are permanent in nature and are to Plaintiffs great financial
detriment and loss. As a result of these injuries, Plaintiff has in the past suffered, is presently
suffering, and may in the future suffer great anguish, sickness, and agony.

13. As an additional result of the carelessness or negligence of the tortfeasor,
Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

14. As a further result of the aforesaid physical injuries, Plaintiff has in the past
undergone, is presently undergoing, and may in the future undergo a great loss of earnings or
earning capacity, all to Plaintiff's further loss and detriment.

15. Upon information and belief, at the time of the motor vehicle collision in this

case, the tortfeasor’s motor vehicle insurance policy or liability insurance were insufficient to
Case 2:19-cv-00315-MMB Document1 Filed 01/22/19 Page 8 of 8

fully and adequately compensate Plaintiff for the injuries suffered in the collision and/or for
other damages and expenses related thereto.

16. At the date and time of the aforementioned motor vehicle collision, Plaintiff was
the owner and operator of a motor vehicle that was covered by a policy of insurance issued by
Defendant under Policy Number 03334 29 60G 7101 3. This policy included coverage for
underinsured motorist coverage applicable to Plaintiff.

17. Accordingly, Plaintiff asserts an Underinsured Motorist Claim against
Defendant.

WHEREFORE, Plaintiff demands judgment in Plaintiffs favor and against Defendant in
an amount in excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other

relief this court deems necessary.

SIMON & SIMON, P.C.

LM ple”

PSHE H. Lipscomb
